     Case 1:05-cr-10003-NMG Document 624 Filed 01/26/09 Page 1 of 5



                   United States District Court
                     District of Massachusetts

________________________________
                                 )
UNITED STATES OF AMERICA,        )
                                 )
          v.                     )
                                 )       Criminal No.
ARTHUR GIANELLI, MARY ANN        )       05-10003-NMG
GIANELLI, FRANK IACOBONI, DENNIS )
ALBERTELLI, RANDY ALBERTELLI,    )
GISELE ALBERTELLI, RAFIA FEGHI, )
and JOSEPH YERARDI,              )
          Defendants.            )
________________________________ )

                        MEMORANDUM & ORDER

GORTON, J.

     In this criminal case, one of the eight remaining defendants

has moved to vacate this Court’s order requiring the

interlocutory sale of her home.     The government opposes that

motion and has moved to compel compliance with the interlocutory

sale order.

I.   Background

     On March 7, 2008, this Court ordered the interlocutory sale

of the property of defendant Mary Ann Gianelli (“Mary Ann”).

That order, entered over the objection of Mary Ann, gave the

Internal Revenue Service (“the IRS”) the authority to market and

sell property located at 420 Main Street in Lynnfield,

Massachusetts (“the Lynnfield Property”).       It also required Mary

Ann and her husband, defendant Arthur Gianelli (“Gianelli”),


                                  -1-
     Case 1:05-cr-10003-NMG Document 624 Filed 01/26/09 Page 2 of 5



promptly to execute all documents necessary to transfer

possession and title of the subject property to the United

States.

     The Lynnfield Property is the Gianellis’ residence.         It was

apparently valued at just over $2 million in 2005, but at only

$970,000 in the fall of 2008.     The property is owned by a trust,

the trustee of which is Mary Ann and the beneficiaries of which

are Mary Ann and the Gianellis’ two children.

     The Lynnfield Property is subject to forfeiture allegations

in the Second Superseding Indictment.      In February, 2006, this

Court entered a restraining order that required the Gianellis “to

maintain the present condition of [the Lynnfield Property],

including timely payment of all mortgage payments.”

Notwithstanding that order, the Gianellis stopped making mortgage

payments in April, 2007, and the mortgage is currently in

default.   The mortgagee, Countrywide Home Loans, Inc.

(“Countrywide”), has stated that, but for the restraining order

entered in this case, it would have commenced foreclosure

proceedings.

     In June, 2007, the government moved for the interlocutory

sale of the Lynnfield Property pursuant to 21 U.S.C. § 853(e)(1).

In support the government noted the Gianellis failure to make

mortgage payments and the existing default judgment arising out

of Arthur Gianelli’s violation of his bail conditions.         The


                                  -2-
     Case 1:05-cr-10003-NMG Document 624 Filed 01/26/09 Page 3 of 5



government argued that an arms-length commercial sale by the

United States would result in a higher purchase price (to the

benefit of all parties) than a foreclosure sale or bail

forfeiture sale, both of which would proceed by auction.         This

Court granted the government’s motion, without an opinion, in the

March, 2008 interlocutory sale order (“the interlocutory sale

order”).

     In August, 2008, Mary Ann filed a motion to preclude law

enforcement officers from accompanying a real estate appraiser

into her home (Docket No. 516) and a motion to vacate the

interlocutory sale order (Docket No. 520).       The government

opposes those motions and has moved to compel compliance with the

interlocutory sale order (Docket No. 517).       The issues have since

been thoroughly briefed, with both sides filing multiple

oppositions and replies.

     On September 17, 2008, the government and Mary Ann filed a

joint motion to defer all rulings relating to the appraisal and

interlocutory sale of the Lynnfield Property.       In that motion the

parties informed the Court that an agreement had been reached

with respect to appraisal and that the result of the appraisal

might obviate the need for a ruling on the remaining motions.           On

December 22, 2008, however, the government indicated that it

wanted to go forward with an interlocutory sale, and thus renewed

its request that this Court deny Mary Ann’s motion to vacate and


                                  -3-
      Case 1:05-cr-10003-NMG Document 624 Filed 01/26/09 Page 4 of 5



allow the government’s motion to compel.        A hearing on those

motions was held January 12, 2009.

II.   Analysis

      This Court concludes that there is no justification for

vacating its previously entered interlocutory sale order.

Contrary to the defendant’s assertion, there has been no material

change in circumstances since that order was entered nearly one

year ago.   The mortgage on the Lynnfield Property is still in

default and payments are not being made.        Thus, the equity in the

property available to the government in the event forfeiture is

ordered continues to diminish.

      This Court is authorized by statute to “take any . . .

action to preserve the availability of property” subject to

forfeiture.      See 21 U.S.C. § 853(e)(1) (incorporated by 18 U.S.C.

§ 982(b)(1) and 28 U.S.C. § 2461(c)).       Here, an interlocutory

sale is necessary to preserve the availability of equity in the

Lynnfield Property.     See United States v. McDonough, No. 05-cr-

891, 2007 WL 2317103, at *1-2 (N.D. Ill. Aug. 1, 2007) (ordering

an interlocutory sale pursuant to § 853(e) where mortgage,

property taxes and insurance were not being paid).




                                   -4-
     Case 1:05-cr-10003-NMG Document 624 Filed 01/26/09 Page 5 of 5



                                 ORDER

     In accordance with the foregoing, the government’s motion to

compel compliance with order for interlocutory sale (Docket No.

517) is ALLOWED and the defendant’s motion to vacate order for

interlocutory sale (Docket No. 520) is DENIED.        Defendant’s

motion to preclude law enforcement from entering her home (Docket

No. 516) and the joint motion to defer rulings (Docket No. 537)

are DENIED as MOOT.   The defendant shall vacate the Lynnfield

Property and, pursuant to the March 7, 2008 interlocutory sale

order, execute all documents necessary to facilitate a sale by

the United States, within 45 days of the date of this order.


So ordered.

                                  /s/ Nathaniel M. Gorton
                                 Nathaniel M. Gorton
                                 United States District Judge
Dated January 26, 2009




                                  -5-
